         Case 19-04007-dd                 Doc 6 Filed 07/31/19 Entered 07/31/19 10:49:00                                Desc Ch 7
                                            First Mtg Notice A(BNC) Page 1 of 2
Information to identify the case:
Debtor 1              Ronald Racca                                                      Social Security number or ITIN        xxx−xx−2999
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of South Carolina
                                                                                        Date case filed for chapter 7 7/31/19
Case number:          19−04007−dd


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Ronald Racca

2.      All other names used in the
        last 8 years

3.     Address                               202 Gemstone Ct
                                             Myrtle Beach, SC 29588

4.     Debtor's attorney                     Sean P. Markham                                        Contact phone 843−284−3646
                                             Markham Law Firm, LLC
       Name and address                      PO Box 20074                                           Email: smarkham@markhamlawsc.com
                                             Charleston, SC 29413−0074

5.     Bankruptcy trustee                    Kevin Campbell                                         Contact phone (843) 884−6874
                                             PO Box 684
       Name and address                      Mount Pleasant, SC 29465                               Email: kcampbell@campbell−law−firm.com
                                                                                                               For more information, see page 2 >
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Debtor Ronald Racca                                                                                                                Case number 19−04007−dd


6. Bankruptcy clerk's office                    J. Bratton Davis United States                                            Hours open 9:00 am − 5:00 pm
                                                Bankruptcy Courthouse
    Documents in this case may be filed at this 1100 Laurel Street                                                        Contact phone: 803−765−5436
    address. You may inspect all records filed Columbia, SC 29201−2423
    in this case at this office or online at
    www.pacer.gov.                                                                                                        Date: 8/1/19


7. Meeting of creditors                                    September 11, 2019 at 11:00 AM                                 Location: King and Queen
    Debtors must attend the meeting to be                  The meeting may be continued or adjourned to a                 Building, 145 King Street, Room
    questioned under oath. In a joint case,                later date. If so, the date will be on the court               225, Charleston, SC 29401
    both spouses must attend. Creditors may
    attend, but are not required to do so.                 docket. *** Valid photo identification required ***


8. Presumption of abuse                                    The presumption of abuse does not arise.
    If the presumption of abuse arises, you may have
    the right to file a motion to dismiss the case under
    11 U.S.C. § 707(b). Debtors may rebut the
    presumption by showing special circumstances.



9. Deadlines                                   File by the deadline to object to discharge or                             Filing deadline: 11/12/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.                        You must file a complaint:
                                                           • if you assert that the debtor is not entitled to receive a
                                                           discharge of any debts under any of the subdivisions of 11
                                                           U.S.C. § 727(a)(2) through (7), or
                                                           • if you want to have a debt excepted from discharge
                                                           under 11 U.S.C § 523(a)(2), (4), or (6).
                                                           You must file a motion:
                                                           • if you assert that the discharge should be denied under §
                                                           727(a)(8) or (9).


                                                           Deadline to object to exemptions:                              Filing deadline: 30 days after the
                                                           The law permits debtors to keep certain property as            conclusion of the meeting of creditors
                                                           exempt. If you believe that the law does not authorize an
                                                           exemption claimed, you may file an objection.


10. Proof of claim Please do not file a                    No property appears to be available to pay creditors. Therefore, please do not file a
    proof of claim unless you receive a notice             proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    to do so.                                              will send you another notice telling you that you may file a proof of claim and stating the
                                                           deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                        The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                           not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                           www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                           debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                           objection by the deadline to object to exemptions in line 9.

13. Miscellaneous Notice                                   The Voice Case Information System (VCIS) will give status information on cases filed or
                                                           converted after 11/30/88. Call 1−866−222−8029. Please refer to the Court's web site at
                                                           www.scb.uscourts.gov for further information. Chapter 7 cases: Property of the estate
                                                           may be abandoned by the trustee at the meeting of creditors unless creditors or parties
                                                           in interest object to SC LBR 6007−1.

14. Options to Receive Notices                             (1) Anyone can register for the Electronic Bankruptcy Noticing program at
    Served by the Clerk by Email                           bankruptcynotices.uscourts.gov OR (2) Debtors can register for DeBN by filing local
    Instead of by U.S. Mail                                form 'Debtor's Electronic Noticing Request (DeBN)' with the Clerk of Court. Both options
                                                           are FREE and allow the clerk to quickly send you court−issued notices and orders by
                                                           email. See Local Rule 9036−1.
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